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IN THE UNITED sTATEs DISTRICT coURT ~ - D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE gsAUG
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MARK w. BRYAN, £W]a/D; 315 F?W€T mr
“`WFVRBH§
Petitioner,
vs. No. 01-2564~Ma

JOHN MALCOLM DAVIS,

Defendant.

 

ORDER GR.ANTING MOTION TO SUBSTITUTE ORDER

 

Before the court is respondent’s August 4, 2005, motion
requesting permission to Withdraw the Opposition to Petitioner’s
Application for Certificate of Appealability dated August l,
2005, and substitute the final draft of the opposition dated
August 3, 2005. For good cause shown, the motion is granted.
Respondent may withdraw the August l, 2005, Opposition and
substitute the Opposition dated August 3, 2005.

§M\

It is so ORDERED this day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 95 in
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Honorable Samuel Mays
US DISTRICT COURT

